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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   STA GROUP LLC,

                     Plaintiff,
          v.                                         Case No. 2:23-cv-00030-JRG-RSP

   MOTOROLA SOLUTIONS, INC.,                         JURY TRIAL DEMANDED

                     Defendant.

   MOTOROLA SOLUTIONS, INC.

                     Counterclaim Plaintiff,

          v.

   STA GROUP LLC, DILLON KANE GROUP
   LLC, and INSTANT CONNECT SOFTWARE
   LLC,

                     Counterclaim Defendants.


   DEFENDANT’S ANSWER, DEFENSES, AND COUNTERCLAIMS TO PLAINTIFF’S
                COMPLAINT FOR PATENT INFRINGEMENT

         Defendant and Counterclaimant Motorola Solutions, Inc. (“MSI”) hereby submits its

  Answer and Counterclaims to the Complaint for Patent Infringement (“Complaint”) of Plaintiff

  STA Group LLC (“STA”).

                                                ANSWER

         MSI herein provides its response to each paragraph of the Complaint. For the reasons set

  forth in MSI’s pending motion to dismiss (Dkt. 13), MSI requests this Court to dismiss STA’s

  Complaint for failure to state a claim. In providing the following responses to the Complaint,




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  MSI expressly maintains, and does not waive, its contention that STA has failed to plead any

  factual allegations that articulate any plausible basis for alleged infringement.

         Unless specifically admitted below, MSI denies each and every allegation in the

  Complaint. MSI states that the un-numbered paragraph preceding the heading “The Parties” does

  not set forth allegations against MSI, and thus does not require an admission or denial. MSI repeats

  the headings from the Complaint for purposes of convenience. To the extent un-numbered

  paragraphs or headings of the Complaint are construed as allegations, they are each denied.

                                            THE PARTIES

         1.      MSI lacks knowledge or information sufficient to form a belief about the truth of

  the allegations in this paragraph and therefore denies the same.

         2.      MSI admits it is a Delaware corporation. The remaining allegations of paragraph 2

  contain legal conclusions to which no response is required. To the extent a response is required,

  MSI admits that, as of the filing of this Answer, one of its subsidiaries has operations at 415 East

  Exchange Parkway, Allen, TX, 75002. MSI denies any remaining allegations in paragraph 2.

                                   JURISDICTION AND VENUE

         3.      MSI admits that the Complaint purports to assert claims of patent infringement

  arising under the Patent Act, 35 U.S.C. § 101 et seq, but denies that STA states a claim of

  infringement upon which relief can be granted, denies that it has committed or is committing acts

  of infringement, including in this District, and denies STA is entitled to relief. Notwithstanding

  STA’s lack of standing, MSI admits that subject matter jurisdiction is otherwise proper in this

  Court under 28 U.S.C. §§ 1331 and 1338(a). MSI denies any remaining allegations in paragraph 3

  of the Complaint.




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         4.      For purposes of this action only, MSI does not contest personal jurisdiction but

  denies that venue is convenient in this District and reserves all rights to seek transfer to a more

  convenient forum. MSI denies that it has committed any acts of infringement as alleged by STA.

  MSI denies any remaining allegations in paragraph 4 of the Complaint.

         5.      MSI admits that it provides certain products and services in the United States,

  including in this District. MSI denies any remaining allegations in paragraph 5 of the Complaint.

         6.      For purposes of this action only, MSI does not contest venue or personal

  jurisdiction but denies that venue is convenient in this District and reserves all rights to seek

  transfer to a more convenient forum.

         7.      The allegations of paragraph 7 contain legal conclusions and characterizations of

  an undated document allegedly accessed by STA in September 2022, to which no response is

  required. To the extent a response is required, the referenced document speaks for itself, and MSI

  denies the remaining allegations in paragraph 7.

         8.      The allegations of paragraph 8 contain legal conclusions and apparent

  characterizations of an MSI Annual Report allegedly accessed by STA at a third-party website, to

  which no response is required. To the extent a response is required, the referenced document

  speaks for itself, but the link cited by STA is not operational, and MSI therefore lacks knowledge

  or information sufficient to form a belief about the truth of the remaining allegations in

  paragraph 8.

         9.      MSI denies that it acquired an entity named “Kodiak Solutions” but admits it

  acquired Kodiak Networks, Inc. in 2017. The remaining allegations of paragraph 9 characterize an

  MSI press release allegedly accessed by STA, to which no response is required. To the extent a




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  response is required, the referenced document speaks for itself, and MSI denies the remaining

  allegations in paragraph 9.

          10.      MSI admits that, as of the filing of this Answer, the URL http://kodiakptt.com

  forwards to a webpage on MSI’s website. MSI denies any remaining allegations in paragraph 10

  of the Complaint.

          11.      The allegations of paragraph 11 contain legal conclusions, to which no response is

  required. Moreover, paragraph 11 does not provide sufficient context or information to allow for

  a response, and on at least that basis, MSI denies the allegations in paragraph 11.

          12.      The allegations of paragraph 12 contain vague and ambiguous characterizations of

  a portion of a website, to which no response is required. To the extent a response is required, the

  website cited by STA does not show any job openings in this District “posted as recently as

  January 24, 2023.” MSI denies any remaining allegations in paragraph 12 of the Complaint.

          13.      MSI admits the allegations in paragraph 13 of the Complaint.

          14.      The allegations of paragraph 14 contain vague and ambiguous characterizations

  regarding so-called “accused WAVE products” without defining the term or identifying any

  product that STA contends falls within the vague and ambiguous category “accused WAVE

  products.” Because paragraph 14 does not provide sufficient context or information to allow for a

  response, MSI denies the allegations in paragraph 14 of the Complaint. MSI further denies it has

  committed or is committing acts of infringement, including in this District, and denies STA is

  entitled to relief.

          15.      The allegations of paragraph 15 contain vague and ambiguous characterizations

  regarding so-called “Motorola WAVE and Motorola P25 Products” without defining the term or

  identifying any product that STA contends falls within this vague and ambiguous category



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  “Motorola WAVE and Motorola P25 Products.” Because paragraph 15 does not provide sufficient

  context or information to allow for a response, MSI denies the allegations in paragraph 15. MSI

  further denies it has committed or is committing acts of infringement, including in this District,

  and denies STA is entitled to relief. MSI denies any remaining allegations in Paragraph 15 of the

  Complaint.

                                     THE PATENTS-IN-SUIT

  A.     The ’324 Patent

         16.     MSI admits that, on its face, the ’324 patent indicates that it is titled, “Tone

  Signaling,” and was issued on September 6, 2011. MSI also admits that, on its face, the ’324 patent

  lists an application number of 12/277,709, filed on November 11, 2008. MSI also admits that

  Exhibit A to the Complaint purports to be a copy of the ’324 patent. MSI lacks knowledge or

  information sufficient to form a belief as to the truth of the remaining allegations in paragraph 16

  of the Complaint, and on that basis, MSI denies them.

         17.     MSI denies the allegations in paragraph 17 of the Complaint.

         18.     MSI denies the allegations in paragraph 18 of the Complaint.

         19.     MSI denies the allegations in paragraph 19 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’324 patent.

  B.     The ’249 Patent

         20.     MSI admits that, on its face, the ’249 patent indicates that it is titled, “Method and

  System for Providing Proxy Media Service,” and was issued on March 27, 2012. MSI also admits

  that, on its face, the ’249 patent lists an application number of 11/267,915, filed on November 4,

  2005. MSI also admits that Exhibit B to the Complaint purports to be a copy of the ’249 patent.

  MSI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations in paragraph 20 of the Complaint, and on that basis, MSI denies them.

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         21.     MSI denies the allegations in paragraph 21 of the Complaint.

         22.     MSI denies the allegations in paragraph 22 of the Complaint.

         23.     MSI denies the allegations in paragraph 23 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’249 patent.

  C.     The ’737 Patent

         24.     MSI admits that, on its face, the ’737 patent indicates that it is titled, “A

  Multiplexing and Demultiplexing Radio Channels,” and was issued on June 2, 2015. MSI also

  admits that, on its face, the ’737 patent lists an application number of 13/311,545, filed on

  December 5, 2011. MSI also admits that Exhibit C to the Complaint purports to be a copy of the

  ’737 patent. MSI lacks knowledge or information sufficient to form a belief as to the truth of the

  remaining allegations in paragraph 24 of the Complaint, and on that basis, MSI denies them.

         25.     MSI denies the allegations in paragraph 25 of the Complaint.

         26.     MSI denies the allegations in paragraph 26 of the Complaint.

         27.     MSI denies the allegations in paragraph 27 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’737 patent.

  D.     The ’852 Patent

         28.     MSI admits that, on its face, the ’852 patent indicates that it is titled, “Inoperability

  and Communications System Dynamic Media Proxy Based on Capability Negotiation,” and was

  issued on April 19, 2016. MSI also admits that, on its face, the ’852 patent lists an application

  number of 14/523,299, filed on October 24, 2014. MSI also admits that Exhibit D to the Complaint

  purports to be a copy of the ’852 patent. MSI lacks knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in paragraph 28 of the Complaint, and on that

  basis, MSI denies them.

         29.     MSI denies the allegations in paragraph 29 of the Complaint.

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          30.     MSI denies the allegations in paragraph 30 of the Complaint.

          31.     MSI denies the allegations in paragraph 31 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’852 patent.

                     STA’S “ALLEGATIONS OF PATENT INFRINGEMENT”

          32.     The allegations of paragraph 32 contain vague and ambiguous characterizations

  regarding so-called “Motorola WAVE Systems and Motorola P25 Products” without defining the

  vague and ambiguous category “Motorola WAVE Systems and Motorola P25 Products.” For the

  reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), STA fails to make a single factual

  allegation as to how or why any single product infringes. Paragraph 32, either individually or

  considered with the rest of the allegations in the Complaint, does not articulate why it is plausible

  that the listed products infringe any claim of the asserted patents and does not provide notice to

  MSI of the basis for alleged infringement. MSI therefore denies all allegations in paragraph 32.

          33.     In paragraph 33, STA purports to define a group of functionalities as “the Motorola

  WAVE Products.” For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), the

  purported “Motorola WAVE Products” include a list of disparate products having widely varying

  functionality, and MSI denies that the listed functionalities are related to each other or

  appropriately categorized as “Motorola WAVE Products.” MSI also states that STA fails to make

  a single factual allegation as to how or why any single product infringes. Paragraph 33, either

  individually or considered with the rest of the allegations in the Complaint, does not articulate why

  it is plausible that the listed products infringe any claim of the asserted patents and does not provide

  notice to MSI of infringement. MSI denies all remaining allegations in paragraph 33.

          34.     In paragraph 34, STA purports to define a group of functionalities as “the Motorola

  P25 Products.” For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), the



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  purported “Motorola P25 Products” include a list of disparate products having widely varying

  functionality, and MSI denies that the listed functionalities are related to each other or

  appropriately categorized as “Motorola P25 Products.” MSI also states that STA fails to make a

  single factual allegation as to how or why any single product infringes. Paragraph 34, either

  individually or considered with the rest of the allegations in the Complaint, does not articulate why

  it is plausible that the listed products infringe any claim of the asserted patents and does not provide

  notice to MSI of infringement. MSI denies all remaining allegations in paragraph 34.

          35.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), STA has

  failed to plead any factual allegations that articulate any plausible basis for alleged infringement.

  MSI denies that STA sufficiently accuses the listed functionalities of infringement. MSI denies

  that STA has supplemented the “[i]dentification of the Accused Products” “as needed in Plaintiff’s

  infringement contentions pursuant to the Court’s scheduling order and local rules.” MSI further

  denies it has committed or is committing acts of infringement, including in this District, and denies

  STA is entitled to relief. MSI denies any remaining allegations in paragraph 35 of the Complaint.

          36.     MSI denies the allegations in paragraph 36 of the Complaint.

          37.     The allegations of paragraph 37 of the Complaint state a legal conclusion, to which

  no response is required. To the extent any response is required, MSI denies the allegations

  contained in paragraph 37 of the Complaint.

          38.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), STA has

  failed to plead any factual allegations that articulate any plausible basis for alleged infringement.

  MSI denies it has committed or is committing acts of infringement, including in this District, and

  denies STA is entitled to relief. MSI denies all other remaining allegations in paragraph 38 of the

  Complaint.



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         COUNT 1: ALLEGED “INFRINGEMENT OF U.S. PATENT NO. 8,014,324”

          39.     Paragraph 39 of the Complaint does not require an answer. To the extent any

  response is required, MSI repeats and realleges its responses to the preceding paragraphs as if fully

  set forth herein.

          40.     MSI denies the allegations in paragraph 40 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’324 patent.

          41.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 41 of the Complaint.

          42.     MSI admits it was served with the Complaint in this matter identifying the ’324

  patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies that

  STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 42 of the Complaint.

          43.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 43 of the Complaint.

          44.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 44 of the Complaint.

          45.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 45 of the Complaint.




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          46.     MSI admits that Exhibit E to the Complaint purports to be a claim chart relating to

  the ’324 patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies it has

  committed or is committing acts of infringement, including in this District, and denies STA is

  entitled to relief. MSI denies any remaining allegations in Paragraph 46.

          COUNT 2: ALLEGED “INFRINGEMENT OF U.S. PATENT NO. 8,145,249”

          47.     Paragraph 47 of the Complaint does not require an answer. To the extent any

  response is required, MSI repeats and realleges its responses to the preceding paragraphs as if fully

  set forth herein.

          48.     MSI denies the allegations in paragraph 48 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’249 patent.

          49.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 49 of the Complaint.

          50.     MSI admits it was served with the Complaint in this matter identifying the ’249

  patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies that

  STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 50 of the Complaint.

          51.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 51 of the Complaint.




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          52.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 52 of the Complaint.

          53.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 53 of the Complaint.

          54.     MSI admits that Exhibit F to the Complaint purports to be a claim chart relating to

  the ’249 patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies it has

  committed or is committing acts of infringement, including in this District, and denies STA is

  entitled to relief. MSI denies any remaining allegations in Paragraph 54.

          COUNT 3: ALLEGED “INFRINGEMENT OF U.S. PATENT NO. 9,049,737”

          55.     Paragraph 55 of the Complaint does not require an answer. To the extent any

  response is required, MSI repeats and realleges its responses to the preceding paragraphs as if fully

  set forth herein.

          56.     MSI denies the allegations in paragraph 56 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’737 patent.

          57.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 57 of the Complaint.

          58.     MSI admits it was served with the Complaint in this matter identifying the ’737

  patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies that




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  STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 58 of the Complaint.

          59.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 59 of the Complaint.

          60.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 60 of the Complaint.

          61.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 61 of the Complaint.

          62.     MSI admits that Exhibit G to the Complaint purports to be a claim chart relating to

  the ’737 patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies it has

  committed or is committing acts of infringement, including in this District, and denies STA is

  entitled to relief. MSI denies any remaining allegations in Paragraph 62.

          COUNT 4: ALLEGED “INFRINGEMENT OF U.S. PATENT NO. 9,313,852”

          63.     Paragraph 63 of the Complaint does not require an answer. To the extent any

  response is required, MSI repeats and realleges its responses to the preceding paragraphs as if fully

  set forth herein.

          64.     MSI denies the allegations in paragraph 64 of the Complaint. STA lacks standing

  to sue for alleged infringement of the ’852 patent.




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         65.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 65 of the Complaint.

         66.     MSI admits it was served with the Complaint in this matter identifying the ’852

  patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies that

  STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 66 of the Complaint.

         67.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 67 of the Complaint.

         68.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 68 of the Complaint.

         69.     For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies all remaining

  allegations in paragraph 69 of the Complaint.

         70.     MSI admits that Exhibit H to the Complaint purports to be a claim chart relating to

  the ’852 patent. For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI denies it has

  committed or is committing acts of infringement, including in this District, and denies STA is

  entitled to relief. MSI denies any remaining allegations in Paragraph 70.

                                       GENERAL DENIAL




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         71.     MSI further denies each and every allegation contained in STA’s Complaint that

  MSI has not specifically admitted, denied, or otherwise responded to herein.

                                      STA’S JURY DEMAND

         MSI states that the un-numbered paragraph preceding the heading “Prayer For Relief” does

  not require an answer. To the extent any response is required, MSI admits that the Complaint sets

  forth a request for trial by jury. MSI denies that STA is entitled to any of the relief requested in

  the Complaint against MSI.

                                  STA’S PRAYER FOR RELIEF

         MSI denies that STA is entitled to any of the relief requested in the Prayer for Relief against

  MSI. To the extent that STA’s Prayer for Relief contains any factual allegations, MSI denies them.

                                             DEFENSES

         1.      Without assuming any burden that it would not otherwise have, MSI asserts the

  following defenses in response to the allegations in STA’s Complaint. STA’s burden of proof is

  established by applicable law and is not changed by MSI’s statement of these defenses herein.

                                 FAILURE TO STATE A CLAIM

         2.      The Complaint fails to state a claim upon which relief can be granted, including for

  the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13).

                                      NON-INFRINGEMENT

         3.      For the reasons set forth in MSI’s pending motion to dismiss (Dkt. 13), MSI denies

  that STA states a claim of infringement upon which relief can be granted. MSI further has not

  willfully, intentionally, recklessly, knowingly, jointly, or otherwise infringed (literally or by

  equivalents), induced infringement of, or contributed to the infringement of any valid and




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  enforceable claim of any of the ’324 patent, ’249 patent, ’737 patent, or ’852 patent (the “Asserted

  Patents”).

                                            INVALIDITY

         4.      The claims of the ’324 patent are invalid for failure to comply with the statutory

  requirements of one or more of the provisions of Title 35 of the United States Code, including

  §§ 101, 102, 103, 112, 116, 119 and/or 120.

         5.      The claims of the ’249 patent are invalid for failure to comply with the statutory

  requirements of one or more of the provisions of Title 35 of the United States Code, including

  §§ 101, 102, 103, 112, 116, 119 and/or 120.

         6.      The claims of the ’737 patent are invalid for failure to comply with the statutory

  requirements of one or more of the provisions of Title 35 of the United States Code, including

  §§ 101, 102, 103, 112, 116, 119 and/or 120.

         7.      The claims of the ’852 patent are invalid for failure to comply with the statutory

  requirements of one or more of the provisions of Title 35 of the United States Code, including

  §§ 101, 102, 103, 112, 116, 119 and/or 120.

                NO WILLFUL INFRINGEMENT OR ENHANCED DAMAGES

         8.      STA has failed to state a claim for willful infringement upon which relief can be

  granted. MSI has committed no wrongdoing or infringement, and STA has failed to plead and

  cannot show any willful infringement occurred. STA is not entitled to enhanced damages under

  35 U.S.C. § 284 or pursuant to the Court’s inherent powers.

                             PROSECUTION HISTORY ESTOPPEL

         9.      Based on the proceedings before the United States Patent and Trademark Office

  (“USPTO”) during the prosecution of the applications that ultimately issued as the Asserted



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  Patents and/or the application(s) to which the Asserted Patents claim priority and/or during any

  post-grant review proceeding related to the Asserted Patents, the full scope of any allegedly

  infringed claim of the Asserted Patents has been disclaimed and/or disavowed and, as such, STA

  is estopped from construing any such claim to cover or include, either literally or under the doctrine

  of equivalents, any product, system, or service of, or any method performed in whole or in part by

  MSI.

                 LICENSE, ESTOPPEL, ACQUIESCENCE, AND/OR WAIVER

         10.     STA is barred, in whole or in part, from seeking any relief based on an express or

  implied license, and/or because of estoppel, acquiescence, waiver, and/or other available equitable

  defenses.

                            LIMITATION ON DAMAGES AND COSTS

         11.     STA’s claims for relief are limited or barred, in whole or in part, by 35 U.S.C.

  §§ 286, 287, and/or 288. STA is also not entitled to a finding that this case is exceptional and is

  not entitled to attorneys’ fees under 35 U.S.C. § 285, the Court’s inherent powers, or any other

  fee-shifting authority.

                                           NO STANDING

         12.     STA lacks standing to assert claims of alleged infringement of the Asserted Patents.

                                      GOVERNMENT SALES

         13.     STA’s claims for infringement as they relate to any product manufactured by MSI

  for use by the United States are limited to the rights and remedies set forth in 28 U.S.C. § 1498.

  STA cannot seek damages against MSI for any product made for and/or used by the United States.

                                         UNCLEAN HANDS

         14.     All or some of STA’s claims for relief are barred due to unclean hands.



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                                          ENSNAREMENT

         15.     All or some of STA’s claims for infringement are barred by the doctrine of

  ensnarement.

                                      ACTIONS OF OTHERS

         16.     The claims made in the Complaint are barred, in whole or in part, because MSI is

  not liable for the acts of others over whom it has no control.

                                          NO CAUSATION

         17.     STA’s claims against MSI are barred because STA’s damages, if any, were not

  caused by MSI.

                                     NO INJUNCTIVE RELIEF

         18.     STA is not entitled to injunctive relief because any alleged injury to STA is not

  immediate or irreparable and because STA has an adequate remedy—if any—at law.

                                     ADDITIONAL DEFENSES

         19.     MSI reserves the right to assert any other defenses that discovery may reveal.

         WHEREFORE, MSI asks this Court to dismiss STA’s action against MSI and enter

  judgment that STA take nothing on its claim against MSI and award MSI its attorneys’ fees and

  costs of defending this action and such other and further relief as it may be entitled.

                                         COUNTERCLAIMS

         Counterclaim Plaintiff MSI hereby alleges the following Counterclaims against

  Counterclaim Defendants STA, Instant Connect Software LLC (“ICS”), and Dillon Kane Group

  LLC (“Dillon Kane Group”):

         1.      STA’s allegations of infringement in its Complaint are baseless. STA’s Complaint

  accuses systems, including MSI’s “WAVE 5000 System,” that have no relationship at all to the

  asserted patent claims. STA has repeatedly and steadfastly refused to provide any authority or

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  factual basis for its woefully deficient infringement allegations, and, to this day, has not identified

  a single document to support its claims.

         2.      The reason behind STA’s refusal to cite any documents in support of its allegations,

  including documents that would evidence its understanding of any MSI accused systems, has now

  become clear. As a result of this lawsuit, MSI learned of a coordinated campaign—involving STA,

  its affiliates Dillon Kane Group and ICS, and certain of MSI’s former employees—to illegally and

  without authorization take MSI’s customers as well as MSI’s confidential and trade secret

  information and use that information against MSI and for the benefit of STA, Dillon Kane Group,

  and ICS in the marketplace and in this lawsuit.

         3.      On information and belief, STA, Dillon Kane Group, and ICS have misused and

  misappropriated MSI proprietary information in multiple ways. First, on information and belief,

  STA, Dillon Kane Group, and ICS have extensively used, and continue to extensively use, the

  misappropriated proprietary MSI information to develop new products, solicit MSI’s customers,

  and gain an unlawful advantage in the marketplace, all on the back of MSI’s hard work,

  investment, and ingenuity.

         4.      Second, on information and belief, STA and Dillon Kane Group also used illicitly

  obtained MSI proprietary information to pursue this lawsuit not based on the merits of any

  infringement claim but to impermissibly gain further access to MSI’s commercially sensitive

  documents—in order to extort MSI for patent licensing royalties and stifle competition in the

  marketplace. STA’s unreasonable manner of litigating, including refusing to identify a single

  document to support its claims, reflects the lack of merit and improper intent in bringing and

  maintaining this lawsuit.




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         5.      MSI brings these Counterclaims to stop STA’s, Dillon Kane Group’s, and ICS’s

  misconduct and exploitation, both in the marketplace and in this case.

         6.      MSI has been a pioneer and global leader in radio equipment, infrastructure, and

  communication systems for nearly 100 years. In particular, at considerable expense over the course

  of many years, MSI has leveraged its expertise and ingenuity to develop “push-to-talk” (“PTT”)

  communication systems that enable reliable, real-time communications in mission critical

  environments. With PTT functionality, a user typically uses a button on a device, such as a two-

  way radio, to initiate fast, short, and immediate transmissions to other users or groups of users.

  MSI’s PTT functionality is a critical tool for first responders, public safety, military, and other

  emergency personnel.

         7.      For years, MSI has made substantial investments in PTT research and innovation

  for a wide range of applications, including the development of PTT over broadband applications.

  PTT over broadband provides the key benefits of PTT while also allowing for interoperable

  communications between radio devices and other types of devices, such as smartphones. MSI

  provides one such system under the name WAVE 5000—a system originally accused of

  infringement and referenced in STA’s Complaint.

         8.      MSI relies on its trade secrets to guard the valuable intellectual property it owns

  related to PTT technology, including PTT over broadband. MSI undertakes substantial precautions

  to ensure that its trade secret information is not misused, including by restricting access to only its

  trusted employees that have a need for such access. MSI also requires those employees to execute

  confidentiality and non-solicitation agreements as a condition of their employment.

         9.      On information and belief, STA is an affiliate of Dillon Kane Group, a private

  equity firm in Chicago. In 2018, STA and Dillon Kane Group acquired PTT over broadband



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  functionality called “Instant Connect” (or “IPICS”), and, in 2019, a patent portfolio relating to that

  functionality, from a third party that was exiting the business. In 2019, the principals of STA and

  Dillon Kane Group formed ICS, another affiliate of Dillon Kane Group. On information and belief,

  STA and Dillon Kane Group and their principals and affiliates have owned and continue to own,

  direct, control, and/or operate ICS and the acquired patent portfolio. On information and belief,

  Dillon Kane Group, STA, and ICS have shared and continue to share responsibility for the Instant

  Connect product and work closely together to own, direct, control, and/or operate the Instant

  Connect business. On information and belief, STA and ICS are under the common control of

  Dillon Kane Group, such that the same individuals responsible for direction and control of STA—

  including those associated with the Dillon Kane Group—also are responsible for direction and

  control of ICS.

         10.        On information and belief, before STA’s and Dillon Kane Group’s 2018 acquisition

  of Instant Connect, neither STA nor Dillon Kane Group nor their managers, officers, employees,

  or members had experience in PTT systems, and STA and Dillon Kane Group had not invested

  any labor or capital in researching or innovating such systems. Knowing that they did not have the

  expertise to develop, market, or sell these products, on information and belief, STA and Dillon

  Kane Group (and later ICS) decided to embark on a plot to unlawfully take MSI’s employees and

  customers and acquire MSI’s confidential and proprietary trade secrets with the intention of

  revamping the technology STA, Dillon Kane Group, and ICS had acquired, and to build a product

  to directly and unfairly compete with MSI’s successful product offerings, including those

  employing the MSI WAVE 5000 technology identified in STA’s Complaint.

         11.        Specifically, on information and belief, STA and Dillon Kane Group (and later ICS)

  unlawfully conspired with disgruntled MSI employees to join forces to gain access to MSI’s



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  proprietary information, including highly sensitive technical information, customer intelligence,

  and business-related strategic information. Among the individuals now closely affiliated with

  Dillon Kane Group, STA, and ICS are several former MSI employees who held key roles at MSI

  that relate to MSI’s PTT over broadband business and who had extensive access to MSI’s relevant

  proprietary technical information and business intelligence. These individuals include at least

  Shaun Botha, Derick Clack, Jeff Lucas, Wes Wells, Peter Fritz, and Steve Spanglo (the “Former

  MSI Employees”). Botha and Clack were key technologists for the WAVE 5000 technology. Wells

  was responsible for integrating the WAVE 5000 technology with MSI’s radios. Spanglo was a

  Systems Engineer for WAVE 5000. Lucas’s responsibilities at MSI related to technical and sales

  roles in connection with providing WAVE 5000 technology to the U.S. Government, while Fritz’s

  responsibilities related to technical and sales roles in Australia.

         12.     During their many years of employment at MSI, the Former MSI Employees

  worked extensively with highly sensitive and proprietary technical information for MSI’s

  products, including MSI’s source code, software, design ideas, product planning, research,

  development, and technical documentation for WAVE 5000. The Former MSI Employees also

  had extensive access to MSI’s business strategy and intelligence, development plans, customer

  lists, and customer-specific requests. The Former MSI Employees, however, chose to take this

  information for their own advantage and, on information and belief, ultimately to advantage Dillon

  Kane Group, STA, and ICS.

         13.     As just one example, while Botha was working at MSI, MSI learned that Botha

  violated the terms of his employment agreement by using and attempting to independently

  commercialize MSI’s intellectual property. Botha left MSI shortly after MSI confirmed to Botha

  that MSI owned that intellectual property. However, before departing MSI, Botha set a plan in



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  motion. On information and belief, frustrated with MSI’s claim of ownership and while still

  employed by MSI, Botha formed a company called FuM Systems LLC (“FuM”), which marketed

  a product, FuM ONE, that also used MSI’s intellectual property. On information and belief, “FuM”

  is an abbreviation for an expletive, “F u Motorola.” On information and belief, unbeknownst to

  MSI until after the filing of the Complaint in this case, Botha hatched this plan to market and

  commercialize FuM in collaboration with Dillon Kane Group and STA. After MSI learned of FuM

  and demanded Botha’s return of MSI’s confidential and trade secret information, Botha (through

  his legal representatives) represented to MSI that Botha would cease unlawful use of MSI’s trade

  secrets and destroy all copies of MSI’s confidential and trade secret information. MSI reasonably

  relied on Botha’s representations. On information and belief, however, at or around the same time

  Botha made his representations to MSI, and unbeknownst to MSI until after the filing of the

  Complaint in this case, Botha and Clack immediately formed a new company, Rally Tactical

  Systems Inc. (“Rally”), to conspire with at least Dillon Kane Group and STA to provide this same

  intellectual property to Dillon Kane Group and STA (and later ICS) for use in Dillon Kane

  Group’s, STA’s, and ICS’s own competing products, without MSI’s express or implied consent.

         14.     As another example, on information and belief, Dillon Kane Group, STA, and ICS

  plotted with at least Botha and Lucas, including while Lucas was still employed by MSI, to solicit

  MSI’s customers and attempt to sell products incorporating MSI’s intellectual property to MSI’s

  customers, for the benefit of Dillon Kane Group, STA, and ICS, in violation of Botha’s and Lucas’s

  contractual duties. On information and belief, Dillon Kane Group, STA, and ICS also conspired

  with at least Botha and Clack to solicit MSI employees who possessed confidential information,

  including Lucas, Wells, Fritz, and Spanglo, to depart MSI and join Dillon Kane Group, STA, or

  ICS, for the benefit of Dillon Kane Group, STA, and ICS, and in violation of Botha’s and Clack’s



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  contractual duties. And, on information and belief, Dillon Kane Group, STA, and ICS have also

  induced at least one other Former MSI Employee, Spanglo, while still employed by MSI, to

  improperly download and misappropriate trade secret and confidential information relating to

  WAVE 5000 in the weeks prior to his departure from MSI without MSI’s express or implied

  consent. Many of these documents provide specific technology implementations and contain

  detailed technical information, providing Dillon Kane Group, STA, and ICS a roadmap for how to

  implement key features of MSI’s products. On information and belief, each of the Former MSI

  Employees continues to work for, or closely with, Dillon Kane Group, STA, and ICS in improving,

  revamping, and modifying their PTT product, Instant Connect, to include MSI’s trade secrets, and

  to solicit MSI’s customers to purchase that modified product in direct competition with MSI’s

  products, including MSI’s WAVE 5000.

         15.     On information and belief, at all relevant times, Dillon Kane Group, STA, ICS, and

  the Former MSI Employees intentionally and deliberately evaded MSI’s security measures and

  hid their wrongful conduct from MSI in an attempt to prevent MSI from learning about their

  harmful and unlawful activities. Dillon Kane Group, STA, ICS, and the Former MSI Employees,

  however, knew at all relevant times that their actions were wrongful and that the information they

  misappropriated was confidential and comprised MSI’s trade secret information. And Dillon Kane

  Group’s, STA’s, and ICS’s acquisition, use, or disclosure of the trade secret information to develop

  the new Instant Connect product was also deliberate, and continues to be deliberate in the ongoing

  development, sales, and marketing of the Instant Connect products in the United States.

                                           THE PARTIES

         16.     Motorola Solutions, Inc. (“MSI”) is a company organized and existing under the

  laws of Delaware having a principal place of business at 500 W Monroe St., Chicago, IL 60661.



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          17.     On information and belief, Dillon Kane Group LLC (“Dillon Kane Group”) is a

  company organized and existing under the laws of Illinois having its principal place of business at

  222 S. Riverside Plaza, 28th Floor, Chicago, IL 60606.

          18.     On information and belief, STA Group LLC (“STA”) is a company organized and

  existing under the laws of Illinois having its principal place of business at 222 S. Riverside Plaza,

  28th Floor, Chicago, IL 60606.

          19.     On information and belief, Instant Connect Software LLC (“ICS”) is a company

  organized and existing under the laws of Delaware having its principal place of business at 222 S.

  Riverside Plaza, 28th Floor, Chicago, IL 60606.

                                    JURISDICTION AND VENUE

          20.     This Court has subject matter jurisdiction pursuant to federal question jurisdiction,

  28 U.S.C. §§ 1331 and 1338(a), the trade secret laws of the United States, 18 U.S.C. §§ 1836,

  1839, the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, and the Patent Laws of the United

  States, 35 U.S.C. § 1 et seq. This Court also has supplemental jurisdiction over the asserted state

  law claims pursuant to 28 U.S.C. § 1367(a) because the federal and state law claims derive from a

  common nucleus of operative facts.

          21.     This Court has personal jurisdiction over STA at least because STA has submitted

  to the personal jurisdiction of this Court by filing the Complaint.

          22.     This Court has specific personal jurisdiction over Dillon Kane Group, STA, and

  ICS at least in part because Dillon Kane Group, STA and ICS have conducted or currently conduct

  business in the State of Texas and in this judicial District. On information and belief, Dillon Kane

  Group, STA, and ICS, directly or through intermediaries, sell, ship, distribute, offer for sale,

  advertise, or otherwise promote their products—developed using misappropriated trade secrets—

  in the State of Texas and this judicial District.

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          23.     This Court also has personal jurisdiction over Dillon Kane Group, STA, and ICS

  because they committed acts of misappropriation in this District and the State of Texas, including

  because they each directly or through their intermediaries, subsidiaries, divisions, groups, or

  distributors, advertise, market, use, offer for sale, import for sale, or sell products containing the

  misappropriated technology in the State of Texas and this District, and place those products in the

  stream of commerce with the expectation and knowledge that they will be purchased by consumers

  in the State of Texas and this District.

          24.     Moreover, on information and belief, at least Dillon Kane Group, STA, and ICS

  have formed strategic partnerships in Texas, including a 2022 strategic partnership with EF

  Johnson Technologies, a company located in Irving, Texas, relating to products containing the

  misappropriated technology. As a result, Dillon Kane Group, STA, and ICS have intentionally

  targeted Texas for its business activities and purposefully availed themselves of the benefits of

  conducting business in Texas, such that they should reasonably anticipate being subject to its laws

  and the jurisdiction of its courts.

          25.     By and through ICS, Dillon Kane Group, STA, and ICS also maintain a commercial

  website accessible to residents of the State of Texas and this District, through which at least ICS

  promotes and facilitates sales of products developed using misappropriated trade secrets. For

  example, ICS’s website, https://www.instantconnectnow.com/, directs consumers in the United

  States, including those in the State of Texas and this judicial District, to purchase ICS’s products.

  Additionally, the website is interactive. It allows users to download an eBook about its product

  after entering an email address. Moreover, ICS’s website links to an “Instant Connect Support

  Portal” (https://support.instantconnectnow.com/s/) that allows users to create an “Instant Connect

  Portal Account.”



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         26.     On information and belief, Dillon Kane Group is the principal actor responsible for

  the actions of STA and ICS and uses its multi-level corporate structure to direct and control the

  actions of STA and ICS. For example, Dillon Kane Group represents to the public, via its website

  (https://www.dillonkane.com/portfolio/), that it operates as a “group of affiliated companies,”

  including (a) “Instant Connect…the world’s first mission-critical platform seamlessly linking

  mobile, radio, and enterprise telephony in a single integrated environment…This is ‘anytime,

  anywhere’ communications that turns IP devices to push-to-talk radios…”; and (b) “STA Group”

  which “is the innovation and engineering engine at the heart of Dillon Kane Group’s software

  practice.”

         27.     Moreover, not only are Dillon Kane Group, STA, and ICS all headquartered at the

  same physical office in Chicago, Illinois, on information and belief, members of Dillon Kane

  Group also act officially in “dual hat” roles, both as employees, officers, members, or other

  affiliates of Dillon Kane Group and in similar roles of Dillon Kane Group “portfolio” companies,

  including STA and ICS, and the leadership among Dillon Kane Group, STA, and ICS overlaps

  significantly. See https://www.dillonkane.com/about/leadership/; https://www.stagrp.com/about/

  leadership/; https://www.instantconnectnow.com/about/leadership/. As one such example,

  founding members and current Senior Managing Partners of Dillon Kane Group, David Dillon and

  Don Kane, are also identified on STA’s website as STA’s Senior Managing Directors. As another

  example, at least Forrest Claypool, identified on Dillon Kane Group’s website as a member of

  “DKG’s Leadership,” also serves as CEO of ICS, and is also identified on STA’s website as a

  “Senior Managing Director of Dillon Kane Group/STA Group LLC, and Chief Executive Officer

  of Instant Connect, a business of the STA Group.”




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            28.   The extent to which the leadership overlaps between Dillon Kane Group, STA, and

  ICS is significant, evidencing the multi-level corporate structure that enables Dillon Kane Group

  to direct and control STA and ICS. For example, the following people are identified on Dillon

  Kane Group’s and STA’s websites as members of both Dillon Kane Group’s and STA’s

  leadership: David Dillon, Don Kane, Forrest Claypool, Tom Cumbo, Tracy McLeod, and Michelle

  Borromeo. Of those, Forrest Claypool, Tracy McLeod, and Michelle Borromeo are also identified

  on ICS’s website as members of ICS’s leadership. As another example, on information and belief,

  at least Rick McNees served as “Chief Revenue Officer” of both Dillon Kane Group and ICS from

  January 2018 to January 2023. Similarly, on information and belief, at least Mike Kleszynski

  currently serves as “Managing Director” of both Dillon Kane Group and STA. And Matt Defano

  currently serves as “Senior Architect / Manager” of STA as well as “Vice President, Engineering”

  of ICS.

            29.   On information and belief, Dillon Kane Group has directed and controlled STA in

  bringing this Complaint. On information and belief, Dillon Kane Group has reported to the Illinois

  Secretary of State that its managers and owners include David Dillon, Don Kane, and Thomas

  Reedy. STA’s initial disclosures and discovery in this matter also identify the same individuals,

  David Dillon, Don Kane, and/or Tom Reedy, as knowledgeable individuals regarding STA’s

  acquisition of the Asserted Patents and regarding STA’s allegations of willful infringement.

            30.   As another example, on information and belief, Dillon Kane Group has at all times

  directed and controlled and continues to direct and control STA’s and ICS’s advertising,

  marketing, use, offer for sale, importation for sale, or selling of, and placing in the stream of

  commerce, the Instant Connect product, which uses MSI’s trade secrets. For example, ICS’s

  website identifies STA and Dillon Kane Group as having purchased the Instant Connect product



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  from a third party and modified and developed that product, thereby allowing ICS to sell that

  product    throughout     the   United     States.    See   https://www.instantconnectnow.com/wp-

  content/uploads/IPICS-End-of-Life-Notice.pdf (“…Instant Connect product line (previously

  known as IPICS) was sold to the STA Group/Dillon Kane Group on April 4, 2018…”). As such,

  Dillon Kane Group uses its multi-level corporate structure to actively participate with, control, and

  manage group activities related to at least the distribution and sale of the Instant Connect product.

  Dillon Kane Group knew or reasonably could have foreseen that the State of Texas and this District

  are a termination point of the distribution channel comprising Dillon Kane Group and its affiliated

  entities, including STA and ICS.

          31.     Each of Dillon Kane Group, STA, and ICS, therefore, have committed tortious acts

  in this District and the State of Texas; have expressly aimed their actions at this District and the

  State of Texas with the knowledge that they would cause harm and substantial injury to MSI in

  the District and the State of Texas; and MSI’s claims relate to Dillon Kane Group’s, STA’s, and

  ICS’s products containing technology misappropriated from MSI and advertised, marketed, used,

  offered for sale, imported, or sold in this District and in the State of Texas.

          32.     Thus, Dillon Kane Group, STA, and ICS have established sufficient minimum

  contacts with the State of Texas and this District, and the exercise of jurisdiction would not offend

  traditional notions of fair play and substantial justice.

          33.     Additionally, this Court has specific personal jurisdiction over Dillon Kane Group

  and ICS at least in part due to Dillon Kane Group and/or ICS being a parent, subsidiary, agent,

  alter ego, partner, related company, predecessor-in-interest, or successor-in-interest to STA over

  the business operations that sell the ICS products developed using trade secrets misappropriated

  from MSI. On information and belief, in 2018, Dillon Kane Group and STA purchased and



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  controlled the business operations responsible for developing and selling Instant Connect products.

  On information and belief, in 2019, Dillon Kane Group and STA transferred at least some of these

  assets—the business operations relating to Instant Connect products—to ICS, which now has some

  role in selling those products developed using MSI’s misappropriated trade secrets. On information

  and belief, Dillon Kane Group and STA and its principals, members, managers, officers, directors,

  or other affiliates fully own, operate, and/or control ICS. On information and belief, Dillon Kane

  Group and STA exercise complete control over ICS’s business operations such that ICS is a mere

  instrumentality of Dillon Kane Group and STA. On information and belief, Dillon Kane Group

  and its principals, members, managers, officers, directors, or other affiliates fully own, operate,

  and/or control STA as well. On information and belief, Dillon Kane Group exercises complete

  control over STA’s business operations such that STA is a mere instrumentality of Dillon Kane

  Group.

           34.   Venue is proper in this District as to these Counterclaims pursuant to 28 U.S.C.

  §§ 1391, 1400(b). STA has submitted to the venue of this Court by filing its Complaint here. Venue

  is also proper because Dillon Kane Group, STA, and ICS have transacted and continue to transact

  business in this District. Moreover, on information and belief, a substantial part of the events or

  omissions giving rise to the Counterclaims have occurred in this District. Dillon Kane Group, STA,

  and ICS have used MSI’s trade secrets to craft the meritless Complaint in this matter, to

  impermissibly gain further access to MSI’s commercially sensitive documents in order to extort

  MSI for patent licensing royalties and stifle competition in the marketplace, and to sell and

  continue to sell, ship, distribute, offer for sale, market, or advertise their products, developed using

  MSI’s misappropriated trade secrets, in this District.




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                        FACTUAL BACKGROUND:
      DILLON KANE GROUP’S, STA’S, AND ICS’S MISAPPROPRIATION OF MSI’S
                             TRADE SECRETS

         A.      MSI’s Substantial Investments in Proprietary PTT Over Broadband
                 Technology

         35.     MSI has expended considerable resources to develop and bring to market PTT

  communication systems.

         36.     MSI provides one such system under the brand name WAVE 5000. WAVE 5000

  bridges two-way radio technology with broadband networks for seamless communications in any

  location, across smart devices and disparate two-way radio systems. WAVE 5000 includes

  numerous proprietary features to implement and enable functionality to provide such seamless

  communications across radio and non-radio devices.




                                      WAVE 5000 Datasheet

         37.     In addition, MSI provides carefully configured, proprietary WAVE 5000

  topologies, unique to different customers. WAVE 5000’s configurable design provides several

  benefits, including by enabling an almost unlimited number of data streams while maintaining ease

  of use and technical sophistication. Underlying the WAVE 5000 system and customer

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  implementations is significant technical know-how and other carefully guarded trade secrets that

  MSI has developed over the course of many years.




                                      WAVE 5000 Datasheet

         38.     The design, development, implementation, and enabling technology of WAVE

  5000 systems, including the unique WAVE 5000 topologies for MSI customers, comprise MSI’s

  confidential and proprietary technology and trade secrets (“WAVE 5000 Technical Trade

  Secrets”). WAVE 5000 Technical Trade Secrets include source code, software, design ideas,

  product planning, research, development, and other technical documentation.

         39.     MSI’s business strategy and customer intelligence, such as those relating to unique

  customer topologies for WAVE 5000 systems, also include MSI’s confidential and proprietary

  technology and trade secrets (“WAVE 5000 Business Trade Secrets”). WAVE 5000 Business

  Trade Secrets include development plans, customer lists, customer-specific requests, client

  records, accounts receivable documents, business plans, marketing research, and related work

  product.

         40.     In addition to WAVE 5000, MSI’s customers approached MSI to build a version

  of WAVE 5000 that could be used in serverless environments. Over the course of his employment

  with MSI, at least one Former MSI Employee, Botha, built a prototype to meet MSI’s customer-

  specific needs. Throughout this time, Botha used the extensive resources and investment of MSI,

  which were entrusted to Botha as part of Botha’s employment with MSI, to develop this new

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  version of the WAVE 5000 system. The design, development, and implementation of the

  serverless version of WAVE 5000 also incorporated MSI’s confidential and proprietary

  technology and trade secrets (“Serverless WAVE 5000 Trade Secrets”). The Serverless WAVE

  5000 Trade Secrets include source code, software, design ideas, product planning, research,

  development, and technical documentation.

         41.     In connection with their roles, each of the Former MSI Employees was privy to at

  least (a) WAVE 5000 Technical Trade Secrets, (b) WAVE 5000 Business Trade Secrets; and/or

  (c) Serverless WAVE 5000 Trade Secrets. Each category of confidential and trade secret

  information derives independent economic value, actual or potential, from not being generally

  known or ascertainable by others, including providing MSI substantial commercial and technical

  significance and competitive advantage, economic benefit, and commercial value in the

  marketplace.

         B.      MSI Protects Its Trade Secrets

         42.     As a result of its substantial investments and decades-long dedication to innovation,

  MSI maintains its trade secrets in strict confidence to protect their value and the substantial

  investments MSI has made to develop them. MSI specifically protects its trade secrets, including

  at least the WAVE 5000 Technical Trade Secrets, WAVE 5000 Business Trade Secrets, and

  Serverless WAVE 5000 Trade Secrets, in numerous ways, including by restricting access to only

  select individuals. Moreover, those individuals are subject to strict confidentiality and non-

  disclosure agreements.

         43.     For example, as a condition of their employment and a part of their executed

  employment agreements, each of the Former MSI Employees were required to sign confidentiality

  agreements including provisions, among others, that prohibit the improper use of any MSI



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  confidential information or trade secrets. For example, at least Botha, Clack, and Wells signed

  agreements, as a condition of their employment, stating:

         As a condition and in consideration of my employment by Motorola Solutions, my being
         given access to Motorola Solutions’ Confidential Information (as that term is defined
         below) which I require in order to perform my duties, and other good and valuable
         consideration, the receipt and sufficiency of which is hereby acknowledged, I agree as
         follows:
         …
         “Confidential Information” means all confidential information and trade secrets
         (whether or not specifically labeled or identified as “confidential”), in any form or medium,
         that is disclosed to, or developed or learned by me and that relates to the business, products,
         services, research or development of Motorola Solutions or its suppliers, distributors or
         customers and that has not become publicly known. As used in this Agreement,
         Confidential Information includes all “Intellectual Property,” which means all non-
         published patent applications, ideas, inventions, formulae, know-how, devices, designs,
         models, methods, techniques and processes, specifications, tooling, computer programs,
         copyrightable works, mask works, technical and product information concerning circuits,
         trade secrets and all other intellectual property rights.

         I recognize that Motorola Solutions is engaged in a continuous program of research and
         development, and that as an employee, I will have access to Confidential Information that
         has independent economic value to Motorola Solutions in part because it is confidential.
         I further recognize that Motorola Solutions has taken reasonable steps to protect its
         Confidential Information from disclosure to the public, including entering into this
         Agreement. During and after my employment, I will not disclose or use any Confidential
         Information except to the extent I am required to disclose or use such Confidential
         Information in the performance of my assigned duties with Motorola Solutions; and I
         will use my best efforts to safeguard the Confidential Information and protect it against
         disclosure, misuse, espionage, loss and theft. . . .

  Motorola Employee Confidentiality and Assignment of Inventions Agreement (“Employment

  Agreement”) (emphases added). All Former MSI Employees signed employment agreements with

  this provision or substantially similar provisions.

         44.     The Employment Agreement further expressly requires, as a condition of

  employment, that “[a]ll documents and materials, which I have had access to or produced in

  connection with my services for Motorola Solutions, or which belong to Motorola Solutions,

  whether or not such materials contain Confidential Information, shall remain the sole property of



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  Motorola Solutions” and that “[u]pon termination, or at any time requested, I shall promptly

  deliver to Motorola Solutions all such materials and copies in my possession and control and shall

  provide written confirmation that I have returned all such materials.” All Former MSI Employees

  agreed to this provision or substantially similar provisions.

         45.     The Employment Agreement additionally states, as a condition of employment, that

  each MSI employee must “assign and agree to assign to Motorola Solutions or its designee all

  right, title and interest” in any “Intellectual Property that relates in whole or in part to Motorola

  Solutions’ business or actual or demonstrably anticipated research or development” and to “both

  during and after my employment, cooperate with Motorola Solutions, at its reasonable expense, to

  protect Motorola Solutions’ interests in such Intellectual Property.” Moreover, each employee

  agrees that “any Intellectual Property related to Motorola Solutions’ business or research or

  development, and that is created, conceived or reduced to practice” during the term of employment

  and for a period of six months after termination “will be presumed to have been conceived or made

  during the period of my employment with Motorola Solutions, unless and until established to the

  contrary by me.” All Former MSI Employees agreed to this provision or substantially similar

  provisions. And at least Botha, Clack, Wells, Lucas, and Spanglo agreed during the term of

  employment and for a period of 12 months after termination of employment not to “directly or

  indirectly, recruit, solicit or induce . . . (i) any employee of Motorola Solutions who possess

  Confidential Information to leave the employ of Motorola Solutions [and]/or (ii) any other person

  to terminate a relationship with Motorola Solutions.” All these provisions help safeguard MSI’s

  confidential and trade secret information.

         46.     In addition, as part of the termination of their employment with MSI, at least Botha,

  Clack, Lucas, and Wells signed an Acknowledgement of Continuing Obligations Under Any



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  Agreements Related to Confidential Information (“Continuing Obligations Agreement”). The

  Continuing Obligations Agreement repeated the same definition of Confidential Information and

  Intellectual Property as the Employment Agreement that the Former MSI Employees signed. And

  under the Continuing Obligations Agreement, the former employees “acknowledge[d] again these

  important obligations to Motorola Solutions and further agree to continue to abide by all

  obligations set forth in any agreements related to Confidential Information, including the

  agreement you signed with the Company at the beginning of your employment.”

          47.    In addition to employment agreements, MSI also requires confidentiality from its

  customers. Regarding the WAVE 5000 technology, as part of an end-user’s license agreement, the

  customer must agree that WAVE 5000 software constitutes valuable proprietary information

  including MSI’s trade secrets and copyrights. The customer must also agree to preserve the

  confidentiality of the software and to cease all use of the software and associated documentation

  and return or destroy all copies of the software and associated documentation upon termination of

  the license.

          48.    MSI strictly enforces these confidentiality agreements. As just one example, when

  MSI learned that Botha, after leaving his employment with MSI, violated the terms of his

  employment agreement by using and attempting to commercialize MSI’s Serverless WAVE 5000

  Trade Secrets at FuM, MSI acted swiftly to protect the confidentiality of the material. MSI, via its

  attorneys, demanded Botha’s compliance with his confidentiality obligations under the

  employment agreements, demanded the return of the confidential and trade secret information, and

  sought extensive assurances that Botha would discontinue his unlawful misappropriation.

          49.    In response, Botha, via his attorneys, assured MSI that he would comply fully with

  MSI’s requests, stating that he would return MSI’s property and cease his unlawful use. However,



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  despite giving these assurances, and unbeknownst to MSI at the time, he did the opposite. Indeed,

  since STA filed its Complaint, MSI has learned that, at the same time that Botha agreed to honor

  his obligations, return MSI’s property, cease unlawful use of MSI’s trade secrets, and dissolve his

  company, FuM, Botha had already been surreptitiously collaborating and conspiring with at least

  Dillon Kane Group, STA, and other Former MSI Employees (some of whom were then still

  employed by MSI) to continue to misappropriate MSI’s trade secrets and unfairly compete and

  interfere with MSI’s business. On information and belief, within weeks of providing assurances to

  MSI that the conduct would be discontinued and MSI’s proprietary information returned, at least

  Botha and Clack had formed a new company, Rally, and continued to supply Dillon Kane Group

  and STA (and later ICS) with MSI’s trade secrets so that Dillon Kane Group, STA, and ICS could

  develop a product to unlawfully and unfairly compete with MSI, as well as continue to solicit MSI

  employees and customers.

         C.      Dillon Kane Group, STA, and ICS Misappropriated MSI’s Trade Secrets

         50.     By the time that Dillon Kane Group and STA acquired a version of PTT over

  broadband technology in 2018, MSI had already developed and/or commercialized several

  proprietary PTT over broadband technologies and systems, including WAVE 5000. Dillon Kane

  Group and STA did not have any such know-how or expertise at that time. On information and

  belief, faced with the challenge of improving technology it had just acquired, and in order to

  compete with MSI, Dillon Kane Group and STA (and later ICS) attempted to overcome this

  knowledge gap by unlawfully inducing or recruiting senior MSI engineers and business people to

  provide Dillon Kane Group, STA, and ICS access to MSI’s customers and to MSI’s valuable trade

  secret information, including at least the WAVE 5000 Technical Trade Secrets, WAVE 5000

  Business Trade Secrets, and Serverless WAVE 5000 Trade Secrets. On information and belief,



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  Dillon Kane Group, STA, and ICS then used this information to revamp their new product line

  and unfairly compete with MSI in the marketplace.

         51.     On information and belief, at all relevant times, Dillon Kane Group, STA, and ICS

  enlisted the help of the Former MSI Employees despite knowing them to be then-current or former

  employees of MSI having access to MSI’s trade secrets and confidential information, including

  the WAVE 5000 Technical Trade Secrets, WAVE 5000 Business Trade Secrets, and Serverless

  WAVE 5000 Trade Secrets, and further knowing that those Former MSI Employees owed

  confidentiality, assignment, and/or non-solicitation obligations to MSI. Indeed, on information and

  belief, Dillon Kane Group, STA, and ICS intentionally leveraged this access to acquire, use, or

  disclose MSI’s trade secrets and, specifically and intentionally, instructed the Former MSI

  Employees to incorporate MSI trade secrets and confidential information into, among other things,

  Dillon Kane Group’s, STA’s, and ICS’s Instant Connect products and business strategies.

         52.     On information and belief, Dillon Kane Group, STA, and ICS conspired with one

  or more of the Former MSI Employees to misappropriate MSI’s trade secrets, solicit MSI’s

  customers, solicit the departure of other MSI employees, carry away confidential information,

  impermissibly gain further access to MSI’s commercially sensitive documents in order to extort

  MSI for patent licensing royalties, stifle competition in the marketplace, and unfairly compete with

  MSI.

         53.     As discussed herein, Dillon Kane Group, STA, and ICS knew or had reason to know

  that their knowledge, acquisition, or use of MSI’s trade secrets came from MSI, that their

  employees’ knowledge, acquisition, or use of MSI’s trade secrets came from MSI, and that their

  employees had previously acquired MSI’s trade secrets by virtue of employer-employee

  relationships and employment agreements, all of which created a duty to keep MSI’s trade secrets



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  confidential. Thus, Dillon Kane Group, STA, and ICS are directly liable for their acquisition, use,

  and disclosure of MSI’s trade secrets.

         54.     Alternately, at least some of the Former MSI Employees used and disclosed MSI’s

  trade secrets within the scope of their employment for Dillon Kane Group, STA, and ICS and for

  the benefit of Dillon Kane Group, STA, and ICS. Their actions in using and disclosing MSI’s trade

  secrets were an outgrowth of their employment and inherent in the working environment because

  Dillon Kane Group, STA, and ICS hired them specifically to design, improve, and revamp the

  Instant Connect product using MSI’s trade secrets, without its consent, to directly and unfairly

  compete with MSI’s products, including WAVE 5000. The Former MSI Employees’ actions were

  at least typical and broadly incidental to Dillon Kane Group’s, STA’s, and ICS’s business of

  developing and commercializing Instant Connect. The Former MSI Employees’ actions were at

  least generally foreseeable as part of their duties to develop and commercialize Instant Connect.

  As a result, Dillon Kane Group, STA, and ICS are alternatively liable for their employees’ actions

  under the doctrine of respondeat superior.

         55.     At all relevant times, MSI had no reasonable notice and no reason to suspect the

  unlawful activities of Dillon Kane Group, STA, ICS, or the Former MSI Employees. On

  information and belief, Dillon Kane Group, STA, and ICS and the Former MSI Employees

  concealed these activities to try to gain an economic benefit, competitive advantage, or commercial

  value, or to accomplish an exploitative purpose, including assisting with and accelerating their

  research and development of their competitive product, from the misappropriation of MSI’s

  confidential information and trade secrets.

         1. Dillon Kane Group’s, STA’s, and ICS’s Acquisition and Use of WAVE 5000
            Technical Trade Secrets




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          56.    For example, on information and belief, Dillon Kane Group, STA, and ICS

  unlawfully and with improper means acquired MSI’s WAVE 5000 Technical Trade Secrets from

  the Former MSI Employees, both during and after their employment with MSI, and used the

  WAVE 5000 Technical Trade Secrets to develop Dillon Kane Group’s, STA’s, and ICS’s

  revamped Instant Connect product.

          57.    On information and belief, Dillon Kane Group, STA, and ICS specifically and

  intentionally recruited, as employees, agents, affiliates, or consultants, the Former MSI

  Employees—including at least Botha, Clack, Lucas, Wells, Fritz, and Spanglo—who were directly

  involved in developing and integrating the WAVE 5000 technology and were intimately

  knowledgeable of the implementation of MSI’s proprietary features and the WAVE 5000

  Technical Trade Secrets. Botha served as Fellow, Technical Staff at MSI with direct

  responsibilities relating to WAVE 5000, and Clack was MSI’s Director, Engineering and a

  software architect for WAVE 5000. Wells was MSI’s Project Manager for WAVE 5000 working

  on a proprietary interface between WAVE 5000 and MSI’s two-way radios. Lucas worked on

  interoperability issues with WAVE 5000, and Spanglo was a System Engineer for WAVE 5000.

  Their responsibilities included coding, documentation, testing, and release of software for WAVE

  5000.

          58.    These Former MSI Employees, therefore, had access to MSI confidential

  information and trade secrets, including, for example, the WAVE 5000 Technical Trade Secrets.

  On information and belief, through these Former MSI Employees, Dillon Kane Group, STA, and

  ICS acquired and used, and continue to acquire and use, the WAVE 5000 Technical Trade Secrets.

  Specifically, on information and belief, Dillon Kane Group, STA, and ICS instructed the Former

  MSI Employees, either as employees, agents, affiliates, or consultants, to work on the same



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  technologies as they did at MSI, but using MSI’s trade secrets through improper means, and for

  the benefit of Dillon Kane Group, STA, and ICS. On information and belief, Dillon Kane Group,

  STA, ICS, and the Former MSI Employees have also intentionally concealed their unlawful

  activity from MSI.

         59.     For example, on information and belief, in 2019, Botha and Clack surreptitiously

  formed Rally, with the intent to provide Dillon Kane Group, STA, and ICS extensive access to

  MSI’s trade secrets for use in Dillon Kane Group’s, STA’s, and ICS’s new and revamped product.

  MSI recently discovered that Dillon Kane Group, STA, and ICS now incorporate Rally’s so-called

  “RallyPoint” technology, which, on information and belief, uses by improper means extensive

  proprietary and confidential information and MSI’s trade secrets, including the WAVE 5000

  Technical Trade Secrets, in each and every Instant Connect product provided or sold by Dillon

  Kane Group, STA, or ICS.

         60.     As another example, on information and belief, Dillon Kane Group, STA, and/or

  ICS directly employ at least Lucas, Wells, Fritz, and Spanglo to work on the same technologies as

  they did at MSI. Wells is a Product Manager and Lucas and Fritz are Directors at Dillon Kane

  Group, STA, and/or ICS, responsible for developing and commercializing the Instant Connect

  product. On information and belief, Wells, Lucas, and Fritz, in coordination with at least Botha,

  Clack, and Spanglo, use by improper means the same technology that comprises MSI’s trade

  secrets, including the WAVE 5000 Technical Trade Secrets. Indeed, in 2021, just weeks before

  leaving MSI to begin work at or with Dillon Kane Group, STA, and/or ICS, Spanglo downloaded

  dozens of technical, marketing, and sales documents relating to MSI’s WAVE 5000 technology.

  These highly confidential and sensitive documents, some of which include detailed technical

  specifications and schematics related to MSI’s proprietary technology, included at least the WAVE



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  5000 Technical Trade Secrets. For example, the accessed and downloaded documents include

  extensive software and documentation for WAVE 5000, including WAVE 5000 servers and

  clients; detailed technical requirements, functions, and operation for MSI’s WAVE 5000

  technology; and confidential documentation and topologies relating to testing and deploying

  various configurations of MSI’s WAVE 5000 technology at customer premises. At least since

  Spanglo acquired these documents in 2021, Dillon Kane Group, STA, and ICS have continued

  their unlawful activity by incorporating MSI’s trade secrets, including the WAVE 5000 Technical

  Trade Secrets, into Dillon Kane Group’s, STA’s, and ICS’s Instant Connect products currently

  sold in the United States.

         61.     As yet another example, on information and belief, Dillon Kane Group and STA

  used MSI’s trade secrets, including the WAVE 5000 Technical Trade Secrets, to craft STA’s

  meritless Complaint in this case and to impermissibly gain further access to MSI’s commercially

  sensitive documents in order to extort MSI for patent licensing royalties and stifle competition in

  the marketplace.

         62.     Dillon Kane Group, STA, and ICS knew, had reason to know, or should have

  known that the WAVE 5000 Technical Trade Secrets were acquired through improper means,

  including through breach of the duty of each of the Former MSI Employees to maintain the secrecy

  of the information. On information and belief, the Former MSI Employees informed Dillon Kane

  Group, STA, and ICS of their confidentiality obligations to MSI, or Dillon Kane Group, STA, and

  ICS otherwise had reason to know about such confidentiality obligations. Despite this, Dillon Kane

  Group, STA, and ICS unlawfully used the WAVE 5000 Technical Trade Secrets, without MSI’s

  express or implied consent.




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            2. Dillon Kane Group’s, STA’s, and ICS’s Acquisition and Use of WAVE 5000
               Business Trade Secrets

            63.   As another example, Dillon Kane Group, STA, and ICS unlawfully and with

  improper means acquired MSI’s WAVE 5000 Business Trade Secrets from the Former MSI

  Employees and used the WAVE 5000 Business Trade Secrets to sell and market Dillon Kane

  Group’s, STA’s, and ICS’s revamped Instant Connect product.

            64.   For example, on information and belief, Lucas, while still an employee of MSI, and

  Botha, during the 12-month period after he left MSI, unlawfully, and in direct breach of their

  employment agreements, surreptitiously conspired with Dillon Kane Group, STA, and ICS to hold

  meetings with at least one MSI customer and used MSI’s WAVE 5000 Business Trade Secrets to

  try to sell products of Dillon Kane Group, STA, and/or ICS to MSI’s customer. On information

  and belief, Lucas and Botha acquired and use and continue to use MSI’s WAVE 5000 Business

  Trade Secrets in the commercialization of Instant Connect for the benefit of Dillon Kane Group,

  STA, and ICS.

            65.   As another example, of the documents Spanglo downloaded in 2021, many include

  planning, requirements gathering, business strategy, and other information relating to WAVE 5000

  customers that constitute MSI’s WAVE 5000 Business Trade Secrets. At least since Spanglo

  acquired these documents, on information and belief, Dillon Kane Group, STA, and ICS have

  continued their unlawful activity by incorporating MSI’s trade secrets into Dillon Kane Group’s,

  STA’s, and ICS’s Instant Connect business strategies and customer deployments in the United

  States.

            66.   As yet another example, on information and belief, Dillon Kane Group and STA

  used MSI’s trade secrets, including the WAVE 5000 Business Trade Secrets, to craft STA’s

  meritless Complaint in this case and to impermissibly gain further access to MSI’s commercially


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  sensitive documents in order to extort MSI for patent licensing royalties and stifle competition in

  the marketplace.

         67.     Dillon Kane Group, STA, ICS, and the Former MSI Employees have also

  intentionally concealed all of this unlawful activity from MSI.

         68.     Dillon Kane Group, STA, and ICS knew, had reason to know, or should have

  known that the WAVE 5000 Business Trade Secrets were acquired through improper means,

  including breach of the duty of each of the Former MSI Employees to maintain the secrecy of the

  information. On information and belief, the Former MSI Employees informed Dillon Kane Group,

  STA, and ICS of their confidentiality obligations to MSI, or Dillon Kane Group, STA, and ICS

  otherwise knew, had reason to know, or should have known about such confidentiality obligations.

  Despite this, Dillon Kane Group, STA, and ICS unlawfully used the WAVE 5000 Business Trade

  Secrets, without MSI’s express or implied consent.

         3.      Dillon Kane Group’s, STA’s and ICS’s Acquisition and Use of Serverless
                 WAVE 5000 Trade Secrets

         69.     As another example, Dillon Kane Group, STA, and ICS unlawfully and with

  improper means acquired MSI’s Serverless WAVE 5000 Trade Secrets from the Former MSI

  Employees and used the Serverless WAVE 5000 Trade Secrets to sell and market Dillon Kane

  Group’s, STA’s, and ICS’s revamped Instant Connect product.

         70.     On information and belief, Dillon Kane Group, STA, and ICS specifically and

  intentionally induced at least Botha and Clack, who were directly involved in developing MSI’s

  Serverless WAVE 5000 Trade Secrets, to work with Dillon Kane Group, STA, and ICS. On

  information and belief, through at least Botha and Clack, Dillon Kane Group, STA, and ICS

  acquired and used and continue to acquire and use, the Serverless WAVE 5000 Trade Secrets.




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  Dillon Kane Group, STA, ICS, and the Former MSI Employees have also intentionally and

  unlawfully concealed their unlawful activity from MSI.

          71.      For example, on information and belief, in 2019, Botha and Clack formed Rally,

  with the intent to provide Dillon Kane Group, STA, and ICS extensive access to MSI’s trade

  secrets, including the Serverless WAVE 5000 Trade Secrets, for use in Dillon Kane Group’s,

  STA’s, and ICS’s new and revamped product. MSI recently discovered that Dillon Kane Group,

  STA, and ICS now incorporate Rally’s so-called “RallyPoint” technology, which, on information

  and belief, uses MSI’s Serverless WAVE 5000 Trade Secrets with MSI’s consent. Indeed, on

  information and belief, Dillon Kane Group, STA, and ICS market the revamped Instant Connect

  product with RallyPoint as the first serverless PTT system, while knowing that the Instant Connect

  product was developed based on and using MSI’s Serverless WAVE 5000 Trade Secrets.

          72.      Dillon Kane Group, STA, and ICS knew, had reason to know, or should have

  known that the Serverless WAVE 5000 Trade Secrets were acquired through improper means,

  including a breach of the duty of each of the Former MSI Employees to maintain the secrecy of

  the information. On information and belief, the Former MSI Employees informed Dillon Kane

  Group, STA, and ICS of their confidentiality obligations to MSI, or Dillon Kane Group, STA, and

  ICS otherwise knew, had reason to know, or should have known about such confidentiality

  obligations. Despite this, Dillon Kane Group, STA, and ICS unlawfully acquired or used the

  Serverless WAVE 5000 Trade Secrets, without MSI’s express or implied consent.

                                              COUNT I

                Declaratory Judgment of Noninfringement of U.S. Patent No. 8,014,324

          73.      MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.



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          74.     STA has alleged that it owns all substantial right, title, and interest in the ’324

  patent. STA purports to allege that MSI infringes the ’324 patent, although STA has failed to state

  a claim of infringement upon which relief can be granted and has failed to identify any basis for

  its infringement allegations regarding the ’324 patent.

          75.     MSI has not infringed and does not infringe, either directly or indirectly, any valid

  and enforceable claim of the ’324 patent. The accused products do not satisfy numerous limitations

  of each claim of the ’324 patent, either literally or under the doctrine of equivalents.

          76.     An actual and justiciable controversy exists between MSI and STA concerning

  MSI’s noninfringement of the ’324 patent.

          77.     MSI is entitled to a judgment from this Court that it has not infringed and does not

  infringe, directly or indirectly, any claim of any of the ’324 patent.

                                               COUNT II

                 Declaratory Judgment of Invalidity of U.S. Patent No. 8,014,324

          78.     MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          79.     STA purports to allege in the Complaint that MSI infringes the ’324 patent,

  although STA has failed to state a claim of infringement upon which relief can be granted and has

  failed to identify any basis for its infringement allegations regarding the ’324 patent. As a result

  of at least the allegations contained in the Complaint, an actual and justiciable controversy exists

  between MSI and STA concerning the validity of the ’324 patent.

          80.     The ’324 patent is invalid for failure to meet the conditions of patentability and/or

  otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.




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          81.      MSI is entitled to a judgment from this Court that the claims of the ’324 patent are

  invalid for failure to meet the conditions of patentability and/or otherwise comply with one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.

                                               COUNT III

                Declaratory Judgment of Noninfringement of U.S. Patent No. 8,145,249

          82.      MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          83.      STA has alleged that it owns all substantial right, title, and interest in the ’249

  patent. STA purports to allege that MSI infringes the ’249 patent, although STA has failed to state

  a claim of infringement upon which relief can be granted and has failed to identify any basis for

  its infringement allegations regarding the ’249 patent.

          84.      MSI has not infringed and does not infringe, either directly or indirectly, any valid

  and enforceable claim of the ’249 patent. The accused products do not satisfy numerous limitations

  of each claim of the ’249 patent, either literally or under the doctrine of equivalents.

          85.      An actual and justiciable controversy exists between MSI and STA concerning

  MSI’s noninfringement of the ’249 patent.

          86.      MSI is entitled to a judgment from this Court that it has not infringed and does not

  infringe, directly or indirectly, any claim of any of the ’249 patent.



                                               COUNT IV

                   Declaratory Judgment of Invalidity of U.S. Patent No. 8,145,249

          87.      MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.



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          88.      STA purports to allege in the Complaint that MSI infringes the ’249 patent,

  although STA has failed to state a claim of infringement upon which relief can be granted and has

  failed to identify any basis for its infringement allegations regarding the ’249 patent. As a result

  of at least the allegations contained in the Complaint, an actual and justiciable controversy exists

  between MSI and STA concerning the validity of the ’249 patent.

          89.      The ’249 patent is invalid for failure to meet the conditions of patentability and/or

  otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.

          90.      MSI is entitled to a judgment from this Court that the claims of the ’249 patent are

  invalid for failure to meet the conditions of patentability and/or otherwise comply with one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.

                                               COUNT V

                Declaratory Judgment of Noninfringement of U.S. Patent No. 9,049,737

          91.      MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          92.      STA has alleged that it owns all substantial right, title, and interest in the ’737

  patent. STA purports to allege that MSI infringes the ’737 patent, although STA has failed to state

  a claim of infringement upon which relief can be granted and has failed to identify any basis for

  its infringement allegations regarding the ’737 patent.

          93.      MSI has not infringed and does not infringe, either directly or indirectly, any valid

  and enforceable claim of the ’737 patent. The accused products do not satisfy numerous limitations

  of each claim of the ’737 patent, either literally or under the doctrine of equivalents.

          94.      An actual and justiciable controversy exists between MSI and STA concerning

  MSI’s noninfringement of the ’737 patent.



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          95.      MSI is entitled to a judgment from this Court that it has not infringed and does not

  infringe, directly or indirectly, any claim of any of the ’737 patent.

                                               COUNT VI

                   Declaratory Judgment of Invalidity of U.S. Patent No. 9,049,737

          96.      MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          97.      STA purports to allege in the Complaint that MSI infringes the ’737 patent,

  although STA has failed to state a claim of infringement upon which relief can be granted and has

  failed to identify any basis for its infringement allegations regarding the ’737 patent. As a result

  of at least the allegations contained in the Complaint, an actual and justiciable controversy exists

  between MSI and STA concerning the validity of the ’737 patent.

          98.      The ’737 patent is invalid for failure to meet the conditions of patentability and/or

  otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.

          99.      MSI is entitled to a judgment from this Court that the claims of the ’737 patent are

  invalid for failure to meet the conditions of patentability and/or otherwise comply with one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.




                                              COUNT VII

                Declaratory Judgment of Noninfringement of U.S. Patent No. 9,319,852

          100.     MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          101.     STA has alleged that it owns all substantial right, title, and interest in the ’852

  patent. STA purports to allege that MSI infringes the ’852 patent, although STA has failed to state

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  a claim of infringement upon which relief can be granted and has failed to identify any basis for

  its infringement allegations regarding the ’852 patent.

          102.    MSI has not infringed and does not infringe, either directly or indirectly, any valid

  and enforceable claim of the ’852 patent. The accused products do not satisfy numerous limitations

  of each claim of the ’852 patent, either literally or under the doctrine of equivalents.

          103.    An actual and justiciable controversy exists between MSI and STA concerning

  MSI’s noninfringement of the ’852 patent.

          104.    MSI is entitled to a judgment from this Court that it has not infringed and does not

  infringe, directly or indirectly, any claim of any of the ’852 patent.

                                             COUNT VIII

                 Declaratory Judgment of Invalidity of U.S. Patent No. 9,319,852

          105.    MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          106.    STA purports to allege in the Complaint that MSI infringes the ’852 patent,

  although STA has failed to state a claim of infringement upon which relief can be granted and has

  failed to identify any basis for its infringement allegations regarding the ’852 patent. As a result

  of at least the allegations contained in the Complaint, an actual and justiciable controversy exists

  between MSI and STA concerning the validity of the ’852 patent.

          107.    The ’852 patent is invalid for failure to meet the conditions of patentability and/or

  otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.

          108.    MSI is entitled to a judgment from this Court that the claims of the ’852 patent are

  invalid for failure to meet the conditions of patentability and/or otherwise comply with one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, 116, and 120.



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                                              COUNT IX

                              Trade Secret Misappropriation Under
                      the Defend Trade Secrets Act (18 U.S.C. §1836 et seq.)

          109.    MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          110.    MSI is the owner of valuable trade secrets relating to PTT over broadband,

  including at least the WAVE 5000 Technical Trade Secrets, WAVE 5000 Business Trade Secrets,

  and Serverless WAVE 5000 Trade Secrets, including as described herein. These trade secrets are

  related to MSI’s products and services that are currently used in, or intended for use in, interstate

  commerce. These confidential and proprietary trade secrets have substantial and independent

  economic value and have conferred an economic benefit, competitive advantage, or other

  commercial value on MSI.

          111.    By way of example, MSI’s PTT over broadband products, including at least WAVE

  5000, are marketed and sold throughout the United States.

          112.    The Former MSI Employees gained access to MSI’s trade secrets—including

  WAVE 5000 Technical Trade Secrets, WAVE 5000 Business Trade Secrets, and Serverless

  WAVE 5000 Trade Secrets—in the course of their employment at MSI. This access was gained

  under a duty of confidentiality, including under contractual employment and confidentiality

  agreements between MSI and the Former MSI Employees.

          113.    By way of or through the Former MSI Employees’ unlawful misappropriation,

  Dillon Kane Group, STA, and ICS knowingly and through improper means acquired, used, or

  disclosed MSI’s trade secrets—including at least MSI’s WAVE 5000 Technical Trade Secrets,

  WAVE 5000 Business Trade Secrets, and Serverless WAVE 5000 Trade Secrets—through

  multiple, separate acts of misappropriation, as described herein. For example, Dillon Kane Group,


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  STA, and ICS, working in concert with and/or in control of, or by inducing, the Former MSI

  Employees, acquired MSI’s trade secrets, used MSI’s trade secrets against MSI, and disclosed

  MSI’s trade secrets in connection with trying to sell a competitive technology to MSI’s WAVE

  5000 system.

         114.    Dillon Kane Group, STA, and ICS misappropriated MSI’s trade secrets, including

  WAVE 5000 Technical Trade Secrets, WAVE 5000 Business Trade Secrets, and Serverless

  WAVE 5000 Trade Secrets, at least by virtue of acquiring the trade secrets from the Former MSI

  Employees with knowledge or reason to know that the trade secrets were acquired by improper

  means. Dillon Kane Group, STA, and ICA at least acquired the trade secrets through inducing the

  Former MSI Employees to breach their duty to maintain the secrecy of the trade secrets, and who

  did in fact use their knowledge of MSI’s trade secrets given their prior positions at MSI to aid in

  Dillon Kane Group’s, STA’s, and ICS’s acts of misappropriation. At the time that Dillon Kane

  Group, STA, and ICS acquired MSI’s trade secrets, they were aware of the circumstances and

  improper means under which these trade secrets were obtained by and from the Former MSI

  Employees and the duty of confidentiality arising from such circumstances.

         115.    Dillon Kane Group, STA, and ICS likewise have misappropriated MSI’s trade

  secrets, including WAVE 5000 Technical Trade Secrets, WAVE 5000 Business Trade Secrets,

  and Serverless WAVE 5000 Trade Secrets, at least by virtue of disclosing or using the trade secrets

  against MSI, and without MSI’s consent, by developing competitive technology and engaging in

  efforts to steal MSI’s customers.

         116.    On information and belief, Dillon Kane Group and STA have likewise used MSI’s

  confidential and trade secret information, including WAVE 5000 Technical Trade Secrets, WAVE

  5000 Business Trade Secrets, and/or Serverless WAVE 5000 Trade Secrets, to craft its meritless



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  Complaint against MSI in this case and to impermissibly gain further access to MSI’s

  commercially sensitive documents in order to extort MSI for patent licensing royalties and stifle

  competition in the marketplace.

         117.    Dillon Kane Group, STA, and ICS knew or had reason to know—and were

  presumably motivated by their knowledge of—the Former MSI Employees’ roles at MSI and their

  knowledge of MSI’s trade secrets, and that the misappropriated trade secrets were acquired under

  a duty to maintain the secrecy or limit the use of the trade secret in connection with those roles, or

  derived from or through the Former MSI Employees, who owed a duty to MSI to maintain the

  secrecy or limit the use of the trade secrets.

         118.    On information and belief, Dillon Kane Group’s, STA’s, and ICS’s

  misappropriation has been willful and malicious, including because Dillon Kane Group, STA, and

  ICS induced at least the Former MSI Employees to switch sides and deliberately use MSI’s highly

  sensitive information and strategies, including WAVE 5000 Technical Trade Secrets, WAVE 5000

  Business Trade Secrets, and Serverless WAVE 5000 Trade Secrets, against MSI as a tool to

  unfairly compete with MSI, steal MSI’s customers, procure investments, and, through this lawsuit,

  extract undue royalties from MSI.

         119.    MSI has taken reasonable steps to maintain the secrecy of its trade secrets,

  including by restricting access to this information, requiring personnel to sign confidentiality

  agreements, policing unusual activity relating to access to confidential information, and placing

  this information under protective order protection when portions of it are produced in litigation.

         120.    Dillon Kane Group’s, STA’s, and ICS’s trade secret misappropriation arises out of

  the same transaction or occurrence as the claim that STA asserts for MSI’s alleged infringement

  of STA patents. Underlying both claims are facts related to, for example, the operation of MSI’s



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  PTT over broadband products, including WAVE 5000, and STA’s bringing or maintaining this

  lawsuit in bad faith.

          121.    MSI has been harmed by the multiple and separate acts of trade secret

  misappropriation of Dillon Kane Group, STA, and ICS. MSI has suffered damages based on Dillon

  Kane Group’s, STA’s, and ICS’s misappropriation and their resulting interference in interstate

  commerce with respect to the competing PTT over broadband products and services. Moreover,

  on information and belief, Dillon Kane Group, STA, and ICS intentionally concealed their

  wrongful conduct from MSI. Only since STA filed its Complaint did MSI learn or have reason to

  learn of the injury that Dillon Kane Group’s, STA’s, and ICS’s unlawful actions caused.

          122.    MSI stands to suffer future harm as well from continued interference or lost

  business. Further, Dillon Kane Group, STA, and ICS have been unjustly enriched through their

  misconduct and will be further unjustly enriched in the future. This includes irreparable harm for

  which there is no adequate remedy at law.

                                              COUNT X

                               Tortious Interference with Contract

          123.    MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          124.    Each of the Former MSI Employees entered into valid and enforceable contracts

  with MSI in the course of their employment, including the aforementioned Employment

  Agreement and Continuing Obligations Agreement.

          125.    On information and belief, Dillon Kane Group, STA, and ICS were aware of the

  employment agreements and obligations to MSI each Former MSI Employee had with MSI.




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          126.    On information and belief, Dillon Kane Group, STA, and ICS acted willfully and

  intentionally and in an unjustified manner to induce each Former MSI Employee to breach his

  contractual obligations owed to MSI.

          127.    For example, on information and belief, at the encouragement of Dillon Kane

  Group, STA, and ICS, at least Botha and Lucas have each breached their employment agreements

  by violating at least the non-solicitation provision of those agreements because they “directly or

  indirectly, recruit[ed], solicit[ed] or induce[d] . . . (ii) any other person to terminate a relationship

  with Motorola Solutions,” such as one or more of MSI’s customers, within 12 months of their

  employment termination. On information and belief, at the encouragement of Dillon Kane Group,

  STA, and ICS, one or more of the Former MSI Employees have each breached their employment

  agreements by violating at least the non-solicitation provision of those agreements because they

  “directly or indirectly, recruit[ed], solicit[ed] or induce[d] . . . (i) any employee of Motorola

  Solutions who possess Confidential Information to leave the employ of Motorola Solutions,” such

  as one or more of the other Former MSI Employees, within 12 months of their employment

  termination.

          128.    Separately, and in addition, on information and belief, at the encouragement of

  Dillon Kane Group, STA, and ICS, at least Botha breached his employment agreement by violating

  at least the assignment provision because he failed to assign to MSI all Intellectual Property

  “created, conceived or reduced to practice” during the term of his employment and within six

  months after termination. Instead, Botha used MSI’s intellectual property against MSI and for the

  benefit of Dillon Kane Group, STA, and ICS.

          129.    Dillon Kane Group’s, STA’s, and ICS’s tortious interference with these contractual

  provisions arises out of the same transaction or occurrence as the claim that STA asserts for MSI’s



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  alleged infringement of STA patents. Underlying both claims are facts related to, for example, the

  operation of MSI’s PTT over broadband products, including WAVE 5000.

          130.    MSI has suffered injury and Dillon Kane Group, STA, and ICS have been unjustly

  enriched as MSI suffered financial losses from Dillon Kane Group’s, STA’s, and ICS’s competing

  Instant Connect product. Dillon Kane Group’s, STA’s, and ICS’s interference with MSI’s

  employee contracts was the proximate cause of this financial loss.

          131.    At all relevant times, MSI had no reasonable notice of and no reason to suspect the

  wrongful conduct of Dillon Kane Group, STA, ICS, or the Former MSI Employees, which is

  inherently undiscoverable. Moreover, on information and belief, Dillon Kane Group, STA, and

  ICS intentionally concealed their wrongful conduct from MSI. Only since STA filed its Complaint

  did MSI learn or have reason to learn of the injury that Dillon Kane Group’s, STA’s, and ICS’s

  unlawful actions caused.

                                              COUNT XI

                      Tortious Interference with Prospective Business Relationship

          132.    MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          133.    MSI has contractual relationships with numerous customers, including customers

  in the federal government.

          134.    Dillon Kane Group, STA, and ICS knew, have known, or should have known that

  MSI routinely enters new contracts with its customers, including customers in the federal

  government, including for services related to PTT over broadband. Therefore, Dillon Kane Group,

  STA, and ICS knew, have known, or should have known that that there is a reasonable probability

  that MSI and its customers, including customers in the federal government, will enter into



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  additional contractual relationships providing for additional services related to MSI’s PTT over

  broadband.

         135.    On information and belief, Dillon Kane Group, STA, and ICS have purposely

  interfered with MSI’s valid business relationships to prevent the fulfillment of MSI’s legitimate

  expectancy to enter additional contractual relationships. For example, as set forth above, Dillon

  Kane Group, STA, and ICS have tortiously interfered with MSI’s contracts with the Former MSI

  Employees by encouraging at least Botha and/or Lucas to violate at least the non-solicitation

  and/or assignment provisions of their Employment Agreements. Dillon Kane Group, STA, and

  ICS have committed these acts intentionally and willfully to interfere with MSI’s existing or

  prospective relationships with MSI customers, including customers in the federal government.

         136.    As a result of Dillon Kane Group’s, STA’s, and ICS’s actions, Dillon Kane Group,

  STA, and ICS have actually prevented MSI’s legitimate expectancy to enter additional contractual

  relationships with its customers. On information and belief, Dillon Kane Group’s, STA’s, and

  ICS’s tortious or unlawful acts have, for example, led MSI customers to purchase the Instant

  Connect product instead of MSI products. For example, Dillon Kane Group, STA, and ICS identify

  all United States military branches as existing customers of Instant Connect on their website

  (https://www.instantconnectnow.com/customers/). Dillon Kane Group’s, STA’s, and ICS’s

  conduct was performed with a conscious desire to prevent MSI from forming or continuing a

  relationship with these customers by selling MSI’s own products, including at least WAVE 5000,

  or, at least, Dillon Kane Group, STA, and ICS knew that the interference was certain or

  substantially certain to occur as a result of their conduct.

         137.    Dillon Kane Group’s, STA’s, and ICS’s tortious interference with contract arises

  out of the same transaction or occurrence as the claim that STA asserts for MSI’s alleged



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  infringement of STA patents. Underlying both claims are facts related to, for example, the

  operation of MSI’s PTT over broadband products, including WAVE 5000, and STA’s bringing or

  maintaining this lawsuit in bad faith.

          138.    MSI has suffered injury, and Dillon Kane Group, STA, and ICS have been unjustly

  enriched, at least because MSI has suffered financial losses from Dillon Kane Group’s, STA’s,

  and ICS’s competing products. Dillon Kane Group’s, STA’s, and ICS’s interference with MSI’s

  customer relationships was the cause of these financial losses.

          139.    At all relevant times, MSI had no reasonable notice of and no reason to suspect the

  wrongful conduct of Dillon Kane Group, STA, and ICS, which is inherently undiscoverable.

  Moreover, on information and belief, Dillon Kane Group, STA, and ICS intentionally concealed

  their wrongful conduct from MSI. Only since STA filed its Complaint did MSI learn or have reason

  to learn of the injury caused by Dillon Kane Group’s, STA’s, and ICS’s unlawful actions.

                                              COUNT XII

                                           Unfair Competition

          140.    MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          141.    Dillon Kane Group, STA, and ICS have committed acts of common law unfair

  competition.

          142.    For example, as set forth above, Dillon Kane Group, STA, and ICS have tortiously

  interfered with MSI’s contracts with the Former MSI Employees, including by encouraging the

  Former MSI Employees to violate at least the non-solicitation and/or assignment provisions of

  their Employment Agreements. For example, Dillon Kane Group, STA, and ICS encouraged one

  or more of the Former MSI Employees to recruit, solicit, or induce MSI employees who possess

  confidential information to leave the employ of MSI. Dillon Kane Group, STA, and ICS also

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  encouraged one or more of the Former MSI Employees to solicit MSI customers to instead

  purchase Dillon Kane Group’s, STA’s, and ICS’s Instant Connect product, which is intended to

  directly compete with MSI’s existing products, including WAVE 5000. Dillon Kane Group, STA,

  and ICS also encouraged at least Botha to violate the assignment provision of his Employment

  Agreement because he failed to assign to MSI all Intellectual Property “created, conceived or

  reduced to practice” during the term of his employment and within six months after termination.

  Instead, Botha used MSI’s intellectual property against MSI and for the benefit of Dillon Kane

  Group, STA, and ICS.

         143.    As another example, the Complaint in this case is meritless and designed merely to

  operate as part of a coordinated campaign to interfere with MSI’s PTT over broadband business in

  the marketplace. No reasonable litigant could realistically expect success on the merits given that

  the asserted claims lack any relationship to any accused system and are invalid. Instead, Dillon

  Kane Group, STA, and ICS have filed the Complaint in an attempt to directly interfere with MSI’s

  ability to compete in the PTT over broadband market.

         144.    As set forth above, Dillon Kane Group’s, STA’s, and ICS’s wrongful actions

  constituted and continue to constitute unfair competition. As a result of Dillon Kane Group’s,

  STA’s, and ICS’s acts of unfair competition, Dillon Kane Group, STA, and ICS have interfered

  with MSI’s ability to conduct its business, in which MSI has substantially invested.

         145.    Dillon Kane Group’s, STA’s, and ICS’s unfair competition arises out of the same

  transaction or occurrence as the claim that STA asserts for MSI’s alleged infringement of STA

  patents. Underlying both claims are facts related to, for example, the operation of MSI’s PTT over

  broadband products, including WAVE 5000, and STA’s bringing or maintaining this lawsuit in

  bad faith.



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          146.    As a result of Dillon Kane Group’s, STA’s, and ICS’s unlawful, unfair, and

  wrongful conduct, MSI has sustained substantial injury, including at least financial losses, as a

  result of Dillon Kane Group’s, STA’s, and ICS’s unfair competition.

          147.    At all relevant times, MSI had no reasonable notice of and no reason to suspect the

  wrongful conduct of Dillon Kane Group, STA, and ICS, which is inherently undiscoverable.

  Moreover, on information and belief, Dillon Kane Group, STA, and ICS intentionally concealed

  their wrongful conduct from MSI. Only since STA filed its Complaint did MSI learn or have reason

  to learn of the injury that Dillon Kane Group’s, STA’s, and ICS’s unlawful actions caused.

                                            COUNT XIII

        Civil Conspiracy to Tortiously Interfere with Contract, Tortiously Interfere with
                   Prospective Business Relationship, and Unfairly Compete

          148.    MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          149.    For example, as set forth above, Dillon Kane Group, STA, and ICS have tortiously

  interfered with MSI’s contracts with the Former MSI Employees, tortiously interfered with MSI’s

  prospective business relationships, and unfairly competed with MSI, including by encouraging and

  conspiring with each other to violate at least the non-solicitation and/or assignment provisions of

  their Employment Agreements and to solicit MSI employees to leave MSI and MSI customers and

  potential customers to instead purchase Dillon Kane Group’s, STA’s, and ICS’s Instant Connect

  product, which is intended to directly and unfairly compete with MSI’s existing products,

  including WAVE 5000.

          150.    Dillon Kane Group, STA, ICS, and one or more of the Former MSI Employees

  reached a meeting of the minds to perpetrate these unlawful acts. In doing so, Dillon Kane Group,

  STA, ICS, and one or more of the Former MSI Employees knowingly entered into a conspiracy to


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  tortiously interfere with MSI’s contracts, tortiously interfere with MSI’s prospective business

  relationships, and to unfairly compete with MSI.

         151.    On information and belief, this conspiracy was undertaken and carried out with the

  purpose of reducing or eliminating the otherwise enormous investment of time, money, and

  resources that Dillon Kane Group, STA, and ICS would otherwise be required to undertake in

  order to develop or improve Instant Connect, to unfairly compete with MSI, and to cause damage

  to MSI.

         152.    In furtherance of a conspiracy, Dillon Kane Group, STA, and ICS have each

  committed unlawful, overt acts, with the specific intent to harm MSI. For example, Dillon Kane

  Group, STA, and ICS lured MSI personnel to work for and work with Dillon Kane Group, STA,

  and ICS and have tortiously interfered with MSI’s contracts with the Former MSI Employees, have

  tortiously interfered with MSI’s prospective business relationships, and have unfairly competed

  with MSI.

         153.    Dillon Kane Group’s, STA’s and ICS’s conspiracy arises out of the same

  transaction or occurrence as the claim that STA asserts for MSI’s alleged infringement of STA

  patents. Underlying both claims are facts related to, for example, the operation of MSI’s PTT over

  broadband products, including WAVE 5000, and STA’s bringing or maintaining this lawsuit in

  bad faith.

         154.    MSI has suffered injury, including at least financial losses, as a proximate result of

  this conspiracy.

         155.    At all relevant times, MSI had no reasonable notice of and no reason to suspect the

  wrongful conduct of Dillon Kane Group, STA, ICS, and one or more of the Former MSI

  Employees, which is inherently undiscoverable. Moreover, on information and belief, Dillon Kane



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  Group, STA, and ICS intentionally concealed their wrongful conduct from MSI. Only since STA

  filed its Complaint did MSI learn or have reason to learn of the injury caused by Dillon Kane

  Group’s, STA’s, and ICS’s unlawful actions.

                                            COUNT XIV

                                Civil Conspiracy to Commit Fraud

          156.    MSI incorporates and re-alleges each and every allegation above as though fully

  set forth herein.

          157.    For example, as set forth above, Dillon Kane Group and STA encouraged and

  conspired with at least Botha to commit fraud on MSI. For instance, on information and belief,

  Dillon Kane Group and STA encouraged and conspired with at least Botha to make material

  misrepresentations to MSI that were false, namely Botha’s material misrepresentations that he had

  complied fully with MSI’s requests to return MSI’s property and to cease his unlawful use of the

  property relating to the FuM ONE product. On information and belief, Botha made these material

  misrepresentations, which were false, knowing them to be false or asserted without knowledge of

  their truth. On information and belief, Dillon Kane Group, STA, and Botha intended to induce

  MSI to rely and act upon the false material misrepresentations, and MSI actually and justifiably

  relied and acted upon such misrepresentations, such as, for example, by dropping its investigation

  of and legal claims against Botha.

          158.    On information and belief, Dillon Kane Group, STA, and Botha reached a meeting

  of the minds to perpetrate these unlawful acts of fraud. In doing so, Dillon Kane Group, STA, and

  Botha knowingly entered into a conspiracy to commit fraud on MSI.

          159.    On information and belief, this conspiracy was undertaken and carried out with the

  purpose of reducing or eliminating the otherwise enormous investment of time, money, and



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  resources that Dillon Kane Group and STA would otherwise be required to undertake in order to

  develop or improve Instant Connect, and to compete unfairly with MSI and cause damage to MSI.

         160.    In furtherance of a conspiracy, Dillon Kane Group and STA each committed

  unlawful, overt acts, with the specific intent to harm MSI. For example, Dillon Kane Group and

  STA encouraged and induced Botha to commit fraud on MSI by making knowing false material

  misrepresentations.

         161.    Dillon Kane Group’s, STA’s, and Botha’s conspiracy arises out of the same

  transaction or occurrence as the claim that STA asserts for MSI’s alleged infringement of STA

  patents. Underlying both claims are facts related to, for example, the operation of MSI’s PTT over

  broadband products, including WAVE 5000, and STA’s bringing or maintaining this lawsuit in

  bad faith.

         162.    MSI has suffered injury, including at least financial losses, as a proximate result of

  this conspiracy.

         163.    At all relevant times, MSI had no reasonable notice of and no reason to suspect the

  wrongful conduct of Dillon Kane Group, STA, or Botha, which is inherently undiscoverable.

  Moreover, on information and belief, Dillon Kane Group, STA, and Botha intentionally concealed

  their wrongful conduct from MSI. Only since STA filed its Complaint did MSI learn or have reason

  to learn of the injury caused by Dillon Kane Group’s, STA’s, and Botha’s unlawful actions.

                                              PRAYER

         WHEREFORE, MSI prays that the Court enter the following relief and judgment in its

  favor as follows:

         A.      That MSI has not and does not infringe any valid and enforceable claim of the
                 Asserted Patents;

         B.      That the claims of the Asserted Patents are invalid and/or unenforceable;


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         C.      That Dillon Kane Group, STA, and ICS misappropriated trade secrets of MSI under
                 18 U.S.C. § 1836 et seq.;

         D.      That Dillon Kane Group, STA, and ICS tortiously interfered with MSI’s contractual
                 relationships;

         E.      That Dillon Kane Group, STA, and ICS tortiously interfered with MSI’s
                 prospective business relationships;

         F.      That Dillon Kane Group, STA, and ICS engaged in unfair competition;

         G.      That Dillon Kane Group, STA, and ICS engaged in a civil conspiracy to tortiously
                 interfere with MSI’s contracts, tortiously interfere with MSI’s prospective business
                 relationships, and unfairly compete with MSI;

         H.      That Dillon Kane Group and STA engaged in a civil conspiracy to commit fraud
                 on MSI;

         I.      Awarding to MSI compensatory damages from Dillon Kane Group, STA, and ICS
                 for any and all damages, injury, and harm in an amount to be determined at trial;

         J.      Awarding to MSI disgorgement of the unjust enrichment of Dillon Kane Group,
                 STA, and ICS in an amount to be determined at trial;

         K.      Awarding to MSI exemplary or punitive damages, in an amount to be determined
                 at trial, including pursuant to 18 U.S.C. § 1836 et seq.;

         L.      That the trade secret misappropriation was or is willful and malicious and awarding
                 MSI its attorney’s fees;

         M.      That the case is exceptional and awarding MSI its attorneys’ fees and costs;

         N.      Awarding taxable costs and interests to MSI;

         O.      Ordering Dillon Kane Group, STA, and ICS to account for and pay damages
                 adequate to compensate MSI for the unlawful activity, including pre-judgment and
                 post-judgment interest and costs.

         P.      Ordering an accounting by Dillon Kane Group, STA, and ICS for any unlawful
                 activity not presented at trial and an award by the court of additional damages for
                 any such unlawful activity;

         Q.      Enjoining and restraining Dillon Kane Group, STA, ICS, and their officers, agents,
                 servants, employees, attorneys, and those persons in active concert or participation
                 with them from pursuing further charges of infringement or acts of enforcement
                 based on the Asserted Patents against MSI or its actual and prospective business
                 partners, customers, suppliers, and anyone in privity with MSI;



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         R.      Enjoining Dillon Kane Group, STA, and ICS from further misappropriation of
                 MSI’s trade secrets, unfair competition, civil conspiracy, tortious interference with
                 contract, and tortious interference with prospective business relationships; and

         S.      For any such other and further equitable or legal relief as the Court deems just and
                 equitable, including pursuant to 28 U.S.C. § 2202.

         MSI reserves the right to amend its Answer and Counterclaims to raise additional

  affirmative defenses and counterclaims as warranted by subsequent investigation and/or analysis.

                                          JURY DEMAND

         MSI demands a trial by jury on all issues presented in this Answer and Counterclaims.


  Dated: June 6, 2023                          Respectfully submitted,

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                                              ATTORNEYS FOR DEFENDANT
                                              MOTOROLA SOLUTIONS, INC.




                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic

  service are being served a copy of this document this 6th day of June 2023, via the Court’s

  CM/ECF system per Local Rule CV-5(a)(3).

  Dated: June 6, 2023

                                                     /s/ Melissa Richards Smith
                                                     Melissa Richards Smith




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